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UNITED STATES DISTRICT COURT                                                      DOC#:_ _-:c~==--
SOUTHERN DISTRICT OF NEW YORI(                                                    DATE FILED: 06/l 7/2022
-----------------------------------------------------------------------x
JULIE A VERBA CH FOR THE ESTATE OF STEVEN
A VERBA CH, et al.,

                   Plaintiffs,
                                                                            No. 19-cv-00004-GHW-KHP
          -against-
                                                                            JOINT STIPULATION AND
CAIRO AMMAN BANK,                                                           PROTECTIVE ORDER

                   Defendant.
-----------------------------------------------------------------------x


         This matter comes before the Cornt in the above-captioned case (the "Litigation") by

stipulation of the respective Plaintiffs and Defendant (individually, a "Party" and together, the

"Parties") for the entry of a protective order pursuant to Rule 26( c) of the Federal Rules of Civil

Procedure and Rule 502(d) of the Federal Rules of Evidence (the "Protective Order"). Having

found that the Parties, by, between, and among their respective counsel, have stipulated and agreed

to the terms set fmth herein, and good cause having been shown for the Parties to enter into a

stipulation for this purpose, 1

         THE FOLLOWING IS STIPULATED BY THE PARTIES AND SO ORDERED BY

THIS COURT.

         A.      Purpose:

         This Protective Order is being entered into to facilitate the production, exchange, and

discovery of documents and information, including materials that may be claimed as privileged or

protected documents that were inadve1tently produced, or information that a Party contends merits




          The Parties are familiar with Magistrate Judge Parker's Model Stipulation and Draft Protective Order. This
Stipulation follows Judge Parker's Model but includes additional clarifying language and procedures.



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confidential treatment. This Protective Order shall govern the handling of documents, depositions,

deposition exhibits, interrogatory responses, responses to requests for admission, responses to

requests for production, third-party discovery productions, and any other information or material

produced, given, or exchanged by and among the Parties and any non-parties to the Litigation in

connection with discovery in the Litigation.

       B.      Definitions:

               1.     "Party" means any party (including Plaintiffs collectively) to this Litigation

              and, as to Plaintiffs, any legal guardians or guardians ad !item, and as to Defendant,

              any officers, directors, or employees, and, as to both Plaintiffs and Defendant,

              counsel ofrecord for the Parties (and their support staff).

              2.      "Discovery Material" includes, but is not limited to, all items or

              information, regardless of the medium or manner in which it is generated, stored,

              or maintained (including, among other things, testimony, transcripts, tangible

              things, and electronically stored information ("ES!")), that are produced or

              generated in disclosures or responses to discovery in this Litigation.

              3.      "Producing Party" means a Party or non-party that produces or otherwise

              discloses, communicates, or makes available Discovery Material in this Litigation.

              4.     "Receiving Patty" means a Party or non-party that receives Discovery

              Material from a Producing Party in this Litigation.

              5.     "Designating Party" means a Patty or non-party that designates Discovery

              Material as "Confidential Information" or "Confidential Information - Attorneys'

              Eyes Only" in this Litigation pursuant to Section D of this Protective Order.




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        6.      "Protected Information" means all Discovery Material, or portions thereof,

        which have been designated by a Designating Party as comprising or containing

        "Confidential Information" or "Confidential Information - Attorneys' Eyes Only"

        pursuant to Section D of this Protective Order, as well as any copies, summaries or

        abstracts thereof.

        7.      "Outside Counsel" means attorneys who are not employees of a Party but

        who are retained to represent or advise a Party with respect to this Litigation.

        8.      "Expert" means a person with specialized knowledge or experience in a

        matter pertinent to the Litigation who is not an employee of a Party but has been

        retained by a Paiiy or its counsel to serve as an expert witness or as a non-testifying

        consultant in this Litigation. This definition includes professional jury or trial

        consultants retained in connection with this Litigation.

        9.      "Professional Vendors" means persons or entities that provide litigation

        support services     (e.g.,   document collection and        storage;   photocopying;

        videotaping; translating; preparing exhibits or demonstratives; organizing, storing,

        retrieving data in any form or medium; etc.) and their employees and

        subcontractors.

        I 0.   "Privileged Documents" means documents that a Producing Paiiy believes

        constitute, contain, or reflect information protected by the attorney-client privilege,

        the common interest privilege, the work product doctrine, or any other privilege or

        immunity from discovery.




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        C.      Use of Discovery Material:

        All Discovery Material (or any copies, summaries, or abstracts thereof) shall be used solely

 for the purpose of conducting this Litigation (including for purposes of mediating or otherwise

attempting to settle this Litigation). However, a Paity may move before the Court in this Litigation

by letter motion to request permission to use Discovery Material in another case or matter. To the

extent Discovery Material has been produced pursuant to a customer's waiver of foreign bank

secrecy laws, and a Party files a motion to request permission to use Discovery Material in another

case or matter, the Designating Patty who obtained the customer's waiver shall promptly notify

the customer of the motion, which customer will have a reasonable opportunity to object to said

motion, as will the Designating Patty.

       D.      Designating Protected Information:

                l.     A Producing Patty may designate Discovery Material as "Confidential

Information" or "Confidential Information -Attorneys' Eyes Only" under this Protective Order if

it has a good faith basis for the designation.

               2.      "Confidential Information" includes Discovery Material that constitutes

and/or contains (i) sensitive commercial data, such as confidential or proprietary research,

development, manufacturing, or commercial or business information that constitute trade secrets,

special formulas, company security matters, customer lists, financial information, projected sales

data, production data, matters relating to mergers and acquisitions, and pricing data, and other

potentially sensitive information that constitute trade secret information or proprietary

information; and (ii) sensitive personal data, such as personal identifiers (e.g. social security

numbers, dates of birth, passport numbers), physical and electronic addresses, telephone numbers,

financial information, tax records, employer personnel records, medical and non-public legal




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 records, files and reports, non-public criminal history and other similar sensitive personal data that

 may be subject to U.S. or foreign laws.

                3.      "Confidential Information - Attorneys' Eyes Only" refers to Confidential

 Information regarding proprietary and/or commercial data, as discussed in Section D(2)(i), that

constitute trade secret information or proprietary information that, if disclosed to persons other

than counsel and their non-party vendors or Expe1ts, would provide a competitive advantage to

competitors or compromise or jeopardize the Designating Patty's business interests if disclosed.

                4.      In the case of documents, interrogatory answers, responses to requests to

admit, ES! (other than that produced in native form), or affidavits or declarations and exhibits

thereto, and the information contained therein, designation shall be made by marking or stamping

each page as "CONFIDENTIAL" or "CONFIDENTIAL - ATTORNEYS' EYES ONLY" in a

manner that does not obscure the content contained on the page. EST produced in native format

may be designated by including a "CONFIDENTIAL" or "CONFIDENTIAL - ATTORNEYS'

EYES ONLY" designation in the file name or in a confidentiality metadata field, and material

produced in a non-paper media (e.g., videotape, audiotape, computer disc) may be designated as

such by labeling the outside of such non-paper media as "CONFIDENTIAL" or

"CONFIDENTIAL-ATfORNEYS' EYES ONLY." In the alternative, designation may be made

by providing written notice of the designation to counsel of record for all Patties at the time of

production.

               5.      All depositions shall presumptively be treated as Confidential Information

subject to this Protective Order during the deposition and until thirty (30) days after receipt by

counsel of the transcript, unless otherwise specified in writing or on the record of the deposition

by the Designating Patty as "Confidential Information -Attorneys' Eyes Only." At or before the




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 end of such thirty (30) day period, the deposition, or pages thereof, may be designated for future

purposes as Protected Information by any Party or, where applicable, by the non-patiy providing

the deposition testimony. Notice of such designation shall be made in writing to the court repo1ier,

with copies to counsel for the Parties, specifying the pmiion(s) of the transcript and exhibits that

constitute or contain Protected Information and are to be marked accordingly. Transcripts

containing testimony or exhibits designated as containing Protected Information shall be marked

by the court repmier with the legend "THIS TRANSCRIPT CONTAINS CONFIDENTIAL

INFORMATION" or "THIS TRANSCRIPT CONTAINS CONFIDENTIAL INFORMATION -

ATTORNEYS' EYES ONLY," and shall be treated in accordance with the provisions of this

Protective Order.

               6.      The pa1iies agree to extend the provisions of this Protective Order to

Confidential Information produced in this case by any third party in response to discovery requests

or subpoenas, if timely requested by the third patiy prior to any such production, but subject to the

provisions contained in Section G.

       E.      Use and Disclosure of Protected Information:

               1.      Except with the prior written consent of the Designating Party or by order

of the Court, Confidential Information shall not be furnished, shown, or disclosed by the Receiving

Pa1iy to any person or entity except to:

                       a. Counsel of record for the Parties to this Litigation and their associated
                          attorneys, paralegals, and other professional personnel (including
                          support staff) who are actively engaged in conducting the Litigation on
                          behalf of the Parties;

                       b. Experts or non-testifying consultants who are employed or retained by
                          a Party in connection with this Litigation, and members of the Experts'
                          or non-testifying consultants' staff working under the Experts' or non-
                          testifying consultants' supervision, provided, however, that such




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                              Protected Information is furnished, shown, or disclosed to them 111
                              accordance with Section E(4) hereof;

                          c. Professional Vendors retained by the Parties or their counsel to furnish
                             technical services in connection with this Litigation, provided, however,
                             that such Protected Information is furnished, shown, or disclosed in
                             accordance with Section E(4) hereof;

                          d. the Court and court personnel, if filed in accordance with Section E(7)
                             hereof;

                         e. an officer before whom a deposition is taken, including stenographic
                            repmiers, videographers, and any necessary secretarial, clerical, or other
                            personnel of such officer, provided, however, that such Protected
                            Information is furnished, shown, or disclosed in accordance with
                            Section E(4) hereof;

                         f.   any mediator or arbitrator engaged by the Pmiies to this Litigation,
                              provided, however, that such Protected Information is furnished, shown,
                              or disclosed in accordance with Section E(4) hereof;

                         g. any other person specifically identified and agreed to in writing by the
                            Pmiies;

                         h. trial and deposition witnesses, provided, however, that such Protected
                            Information is furnished, shown, or disclosed in accordance with
                            Section E(4), hereof; and

                         1.   the officers, directors, personnel, and former personnel of Defendant to
                              whom disclosure is reasonably necessary for this Litigation and who
                              have been advised of their obligations hereunder.

                2.       Except with the prior written consent of the Designating Party or by order

of the Court, materials designated "Confidential Information -Attorneys' Eyes Only" shall not be

furnished, shown, or disclosed by the Receiving Patiy to any person or entity except to those listed

in Section E(l)(a), (b), (c), (d), (e), (f), (h) (with consent of the Patiies), and (i).

                3.      All persons who are authorized to receive and are shown Protected

Information by the Receiving Party pursuant to Section E(l)(b), (c), (e), (f), (g), (h), and (i), shall

be provided a copy of this Protective Order prior to receipt of Protected Information, and shall in




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 a written and signed Confidentiality Agreement in the form annexed as Exhibit A, state that he or

 she has read this Protective Order and agrees to be bound by its terms. Counsel shall retain copies

 of the signed "Exhibit A" forms until final resolution of this Litigation, including appeals.

                4.       The persons listed in Sections E(l)(b), (c), (e), (f) and (h) are only

 authorized to receive Protected Information if such Protected Information is to be used in good

 faith in relation to this case, such as in preparation for, during the course of, or in review of

 deposition or (subject to the provisions of Section D(5)) hearing or trial testimony, and for no other

purpose.

                5.       For the avoidance of doubt, nothing in Sections E(l) - (4), supra, shall

prohibit any party from disclosing or showing documents to witnesses who are the employees of

the Designating Patty.

                6.       If a Receiving Patty learns that, inadvertently or otherwise, it has disclosed

Protected Information to any person or in any circumstance not authorized under this Protective

Order, the Receiving Party must promptly, after discovery of the disclosure, (a) notify the relevant

Designating Party in writing of the unauthorized disclosure(s) and the identity of such persons(s)

to whom Protected Information was disclosed, (b) make reasonable effotts to retrieve or have

destroyed all copies of the Discovery Material containing Protected Information from the person

or persons to whom unauthorized disclosures were made (the "Unauthorized Recipient(s)"), (c)

inform the Unauthorized Recipient(s) of all the terms of this Protective Order, and (d) request the

Unauthorized Recipient(s) to execute the undettaking attached hereto as Exhibit A.

               7.      Excluding any materials admitted into evidence for trial, if any Receiving

Patty wishes to file materials with the Court pre-trial that incorporates Protected Information or

would reveal the contents of Protected Information, such filing (or the portions thereof that would




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 incorporate or reveal the contents of Protected Information) shall be provisionally filed under seal

 as an attachment to the filing paiiy's motion for leave to file under seal and in accordance with the

 local rules pertaining to such filings<""' cc~)    C>d. c.u~>cv,"~'Ji      l~ . " 00'-'M~ 0 . ,.          •   ,. '"(
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                8.      The Receiving Party of any Protected Information under this Protective

 Order shall maintain such material in a reasonably secure location and manner that ensures access

 is limited to the persons authorized under this Protective Order. Protected Information shall not be

copied, reproduced, summarized, extracted, or abstracted by the Receiving Party except to the

extent doing so is reasonably necessary for conducting this Litigation (including for purposes of

mediating or otherwise attempting to settle this Litigation), or the enforcement of insurance rights

with respect to this Litigation. All such copies, reproductions, summarizations, extractions, and

abstractions shall be subject to the terms of the Protective Order and labeled in the same manner

as the designated material on which they are based.

        F.     Protected Information Subpoenaed or Ordered Produced to a Non-Party:

                I.     If a Receiving Patiy is served with a subpoena or other process by any court,

administrative or legislative body, law enforcement agency, or other non-party, which calls for the

production of any Protected Information, the party to whom the subpoena or other process is

directed, to the extent permitted by law, shall promptly notify the Producing Party, in writing, and

in any event within 72 hours after service of a subpoena or other process, of the following: (a) the

information and documents sought by the subpoena or other process and enclosing a copy of the

subpoena or request; (b) the date on which compliance with the subpoena or other process is

requested; (c) the location at which compliance with the subpoena is requested; (d) the identity of

the pa1iy serving the subpoena or other process; and (e) the case name, jurisdiction and index,

docket, complaint, charge, civil action or other identification number or designation identifying




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the litigation, administrative proceeding, investigation or other proceeding in which the subpoena

or other process has been issued.

                2.     The Receiving Party shall inform the person or entity seeking the Protected

Information that such information is subject to this Protective Order. If a Producing Party timely

objects to a disclosure of Protected Information, unless and until such objections are overruled by

a court, or a court othe1wise orders production of the Protected Information, no Receiving Party

may produce or divulge the contents of the Protected Information, except with express written

consent of the Designating Party.

        G.     Disclosure of Protected Information:

        Any Discovery Material that may contain Protected Information that has been produced

without identification as to its protected nature as provided in Section D of this Protective Order,

may be later designated by the Party or non-pa1iy asserting the confidentiality designation by

written notice to the undersigned counsel for all Parties and accompanied by substitute copies of

each document or thing appropriately marked as Protected Information. To the extent such

Discovery Material may have been disclosed to anyone not authorized to receive Protected

Information, the Receiving Party shall make reasonable effotis to retrieve the information

promptly and to avoid any fwiher disclosure, in accordance with Section E(6), supra.

       H.      Challenging Confidentiality Designation:

       If a Party believes that a document designated as Protected Information does not warrant

such designation, the Party shall first make a good-faith effoti to resolve such dispute with the

Designating Party. In the event that the dispute cannot be resolved by the Parties, either Party may

seek relief from the Cowi in an appropriate motion. The burden rests on the Designating Party to
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demonstrate that such designation is proper. If such a motion is filed, the Discovery Material shall

be deemed Protected Information unless and until the Comt rules otherwise.

        I.      Privileged Documents:

                I.     To the maximum extent permitted by law, the Parties and their undersigned

counsel agree, and the Court orders, that the production of documents by a Producing Party shall

be governed by Federal Rule of Civil Procedure 26(b)(5)(B) and Federal Rule of Evidence 502(d)

regarding production of documents, ES!, or information protected by the attorney-client privilege,

the work product doctrine, or any other privilege or protection from disclosure recognized under

applicable law. This Protective Order shall be interpreted to provide the maximum protection

allowed by Federal Rule of Evidence 502(d).

               2.      A Producing Patty's inadvertent production or other disclosure in

connection with this Litigation of one or more Privileged Documents shall not constitute, and may

not be argued to constitute, a waiver of any applicable privilege or immunity with respect to such

Privileged Documents or any other privileged materials or information. The Patties and their

counsel do not intend by this Protective Order to waive their rights to any protection or privilege

from disclosure, including but not limited to the attorney-client privilege and the attorney work

product doctrine, all of which the Patties expressly reserve.

               3.      The procedure set fotth below is intended to provide the Producing Paity or

the other Party and/or non-parties purpmting to hold a privilege with an efficient method for

"clawing back" privileged or protected information that has been inadvertently produced or

disclosed, subject to any resolution of any dispute over the privileged or protected status of the

information, and for foreclosing any arguments of waiver.




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                  In the event a Producing Party discovers it has disclosed Privileged Documents, the

 Producing Party may provide written notice to all counsel of record advising of the disclosure and

 requesting the return or destruction of the Privileged Documents. Upon receiving notice from a

 Producing Patty that it is requesting the return or destruction of Privileged Documents, the

 Receiving Party shall either (a) promptly return and/or destroy the document(s) and/or information

 and all copies, make a good faith effott to destroy any notes that reproduce, copy, or otherwise

 disclose the substance of the privileged or Protected Information, and notify the Producing Patty's

 counsel of record when this is complete, or (b) to the extent the Receiving Party intends to

 challenge the designation of Privileged Documents, sequester all copies of the document(s) in a

 manner that will prevent fwther disclosure or dissemination of their contents pending futther order

 of the Coutt.

                 4.       Within five (5) business days of receiving notice from a Producing Patty or

 its counsel requesting the return or destruction of Privileged Documents, the Receiving Patty shall

notify the Producing Party's counsel of record in writing whether the Receiving Party intends to

challenge the designation of the documents as Privileged Documents. If the Receiving Party

intends to challenge the designation, the document(s) shall remain sequestered pending Court

resolution of the challenge, and the Receiving Party and its counsel shall view and use the

document(s) at issue only to the extent necessary to challenge the privilege claim. The document(s) V ;j
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that the Receiving Party intends to c~allenge shall d--be S'!bmitted to tht:-Coai,under sea~~:':                   ,
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                < '5'.             If the Receiving Party does not intend to challenge the designation otthe ·Ntl~:C .·

document(s) as Privileged Documents, the Receiving Party and its counsel shall, within ten (I 0) u... , \-1..,
                                                                                                                (L                J
business days of receiving such notice of production of Privileged Documents, destroy or return vrv..vtt-oru 0 · ,~
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 all original documents identified by the Producing Party in such notice (whether electronic or hard

 copy), destroy or delete any and all copies (whether electronic or hard copy), and expunge

 information or material derived from the produced Privileged Documents from any other

 documents the Receiving Pa1iy possesses. To the extent the Receiving Party provided any

 disclosed Privileged Documents to any other person or non-paiiy, the Receiving Party shall

 promptly make reasonable efforts to retrieve and destroy such Privileged Documents and notify

 the Producing Party's counsel of record, in writing, that it has done so.

                6.      The Parties shall unde1iake reasonable effotis to resolve the issue of whether

the documents are privileged without cou1i intervention. To the extent the Patiies cannot resolve

the issue, a Party may seek relief from the Comi. No Patiy, however, may asseti as a ground for

compelling production the fact or circumstance that the Privileged Documents had already been

produced until the Comi determines the documents are not in fact privileged.

        J.      Preservation of Rights and Privileges:

        This Protective Order has no effect upon, and shall not apply to, the Producing Parties' use

of its own Discovery Material for any purpose consistent with this Protective Order. Nothing

herein, nor the production of any documents or disclosure of any information pursuant to this

Protective Order, shall be deemed (a) to waive any right a Patiy otherwise would have to object to

disclosing or producing any information or item on any ground not addressed in this Protective

Order; or (b) an admission as to the admissibility in evidence of any facts or documents revealed

in the course of disclosure.

       K.      Scope and Modification of the Protective Order:

       The provisions of this Protective Order shall be binding upon the Parties. All modification

of, waivers of, and amendments to this Protective Order must be in writing and signed by, or on




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 behalf of, the Parties. This Protective Order may be changed by further order of this Court, and

 without prejudice to the rights of a Party to move for relief from any of its provisions, or to seek

 or agree to different or additional protection for any particular material or information.

           L.      Use of Protected Information at Trial:

            Subject to the Federal Rules of Evidence, Protected Information may be offered and

 received into evidence at trial. A party agreeing to the entry of this Order does not thereby waive

the right to object to the admissibility of the material in any proceeding, including trial. Any party

may move the Court for an order that specific Protected Information be reviewed in camera or

under other conditions to prevent unnecessary disclosure or may move the Court for an order

seeking redaction or sealing of any trial exhibit, and nothing herein constitutes a waiver of any

right by a Pa11y to object to any such motion. The parties shall include, in any pretrial order entered

in this Litigation, their proposed exhibit lists, including Bates numbers for each document, thereby

providing the Designating Party with sufficient advance notice of the Protected Information sought

to be introduced at trial to permit the Designating Party an oppmiunity to seek the relief

contemplated by this provision.

           M.      Duration:

           The terms, conditions, and limitations of this Protective Order shall survive the termination

of this Litigation and will continue to be binding upon all persons to whom Protected Information

is produced or disclosed, until the Parties agree otherwise in writing or a court order otherwise

directs.

           N.     Return of Protected Information:

           Within sixty (60) days after the final termination of this Litigation by settlement (including,

to the extent applicable, final court approval of such settlement), or exhaustion of all appeals, the




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 Producing Party may notify the Receiving Party in writing that all Protected Information produced

and all reproductions thereof that have not been publicly disclosed by the Court, the Producing

Patty, or with the consent of the Producing Patty or put into evidence at trial, shall be returned to

the Designating Patty or shall be destroyed, and compliance with this requirement shall be

promptly communicated in writing within sixty (60) days to the Designating Party. In the event

that any Designating Party opts for destruction of its Protected Information, the Receiving Party

shall certify, in writing, within sixty (60) days ofreceipt of the notice that it has undertaken its best

efforts to destroy such physical objects and documents, and that such physical objects and

documents have been destroyed to the best of its knowledge. Notwithstanding anything to the

contrary, counsel of record for the Parties may retain copies of documents constituting work

product, reports, pleadings, motion papers, discovery responses, deposition and trial transcripts,

and deposition and trial exhibits. For the avoidance of doubt, Experts, Professional Vendors, and

other third-patties who have received Protected Information shall also be required to return or

destroy such Protected Information pursuant to the terms of this paragraph.

       0.      Interpretation of Protective Order:

       This Protective Order shall not be interpreted in a manner that would violate any applicable

canons of ethics or codes of professional responsibility.




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Dated: June 15, 2022                  BY:

                                             Isl Andrew J Peck
                                             Jonathan D. Siegfried
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SO ORDERED:            ~34/4;1A      i!
                       Katharine H. Parker
                                            G:~ (=
                       United States Magistrate Judge

                                         06/17/2022




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                  Exhibit A
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 UNITED STATES DISTRICT COURT
 SOUTHERN DISTRICT OF NEW YORI(
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 JULIE A VERBA CH FOR THE ESTA TE OF STEVEN
 AVERBA CH, et al.,

                     Plaintiffs,
                                                                            No. 19-cv-00004-GHW-KHP
              -against-

 CAIRO AMMAN BANK,

                     Defendant.
 -----------------------------------------------------------------------x

                                   DECLARATION OF COMPLIANCE

         I, - - - - - - - - - - - - - - - ~ declare as follows:

                    My business address is _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

         2,         My present employer is _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

         3.         My present occupation or job description is _ _ _ _ _ _ _ _ _ _ __

         4.         I have received a copy of the Protective Order entered in the above named action.

         5.         I have carefully read and understand the provisions of the Protective Order.

         6.         I agree to comply with all provisions of the Protective Order.

         7.        I will hold in confidence, and will not disclose to anyone not qualified under the

Protective Order, any information, documents, or other materials produced subject to this

Protective Order.

        8.         I will use such information, documents or other materials produced subject to this

Protective Order only for purposes of this Litigation.

        9.         At the conclusion ofmy work on this matter, or upon request, I will return or destroy

all information, documents, or other materials produced subject to this Protective Order, and all

documents or things which I have prepared relating to the information, documents, or other
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materials that are subject to the Protective Order, to my counsel in this action, or to counsel for the

party by whom I am employed or retained or from whom I received the documents.

        I 0.   I understand that sanctions may be entered for intentional violation of the Protective

Order. I hereby submit to the jurisdiction of this Cou1t for the purpose of enforcement of the

Protective Order in this Litigation.



Dated: - - - - - - - - -                           Signed: _ _ _ _ _ _ _ _ _ _ _ __




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